Case 19-01228-5-JNC        Doc 134 Filed 01/03/20 Entered 01/03/20 10:19:51              Page 1 of 4

 SO ORDERED.

 SIGNED this 3 day of January, 2020.




                                              _____________________________________________
                                              Joseph N. Callaway
                                              United States Bankruptcy Judge
 ___________________________________________________________________


                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              GREENVILLE DIVISION


 IN RE:                                                   )
                                                          )
 CAH ACQUISITION COMPANY #4, LLC d/b/a                    )      Case No. 19-1228-5-JNC
 DRUMRIGHT REGIONAL HOSPITAL,                             )
                                                          )              Chapter 11
                 Debtor.                                  )
                                                          )

  CONSENT ORDER GRANTING APPLICATION BY SPILMAN THOMAS & BATTLE,
     PLLC AS COUNSEL FOR THE DEBTOR FOR ALLOWANCE OF INITIAL
           COMPENSATION AND REIMBURSEMENT OF EXPENSES
                   [March 13, 2019 through July 31, 2019]

        THIS MATTER came before the United States Bankruptcy Judge for the Eastern

 District of North Carolina, upon the Initial Application by Spilman Thomas & Battle, PLLC as

 Counsel for the Debtor for Allowance of Compensation and Reimbursement of Expenses [March 13,

 2019 Through July 31, 2019] (the “Application”) [Dkt. No. 117] filed on September 17, 2019 by

 Spilman Thomas & Battle, PLLC (the “Applicant” or "Spilman") and served with due and proper

 notice on all required parties. The Applicant thereafter filed its Supplement to Exhibit B of

 Application for Compensation (Dkt. No. 128) on November 4, 2019 (the "Supplement") to amend

 and include certain costs and expenses inadvertently omitted from the Application. This Court, with

 the consent of the Bankruptcy Administrator for the Eastern District of North Carolina (the “BA”)
Case 19-01228-5-JNC        Doc 134 Filed 01/03/20 Entered 01/03/20 10:19:51                  Page 2 of 4




 and Thomas W. Waldrep, Jr., the trustee in the Debtor's case (the "Trustee"), hereby makes the

 following Findings of Fact and Conclusions of Law:

               1.   On April 2, 2019, Applicant filed its Application to Employ Spilman Thomas

 & Battle, PLLC as Attorney. (Dkt. No. 35). On April 24, 2019, the court dismissed this case for

 failure to obtain proper corporate authority to file it. At the time, no order of employment had

 been entered. On May 8, 2019, the Court entered its Consent Order Allowing Employment of

 Spilman Thomas & Battle, PLLC as Counsel to the Debtor Nunc Pro Tunc to the Petition Date

 and Limiting Duties of Counsel Pursuant to 11 U.S.C. § 327(a) in each of the other related

 matters 1. The BA consents to the entry of a similar order in this case in this matter in light of the

 settlement.

               2.   The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334 and 11 U.S.C. § 330.

               3.   The Applicant believes that it has performed reasonable and necessary legal

 services for the Debtor within the scope of Applicant's limited employment. The BA has concerns

 that certain of the services for which compensation is being sought exceed the scope of Applicant’s

 limited employment.

               4.   The Application and Supplement seek initial allowance of compensation in the

 amount of $25,478.58, which represents $23,264.06 for fees and $2,214.52 for expenses. A

 detailed description of the legal services rendered, including time expended and the dates rendered,

 was attached to the Application as filed with the Court.




 1
  CAH #1 (Washington) (19-00730-5-JNC), CAH #2 (Oswego)(19-01230-5-JNC), CAH #3 (Horton)(19-1180-5-JNC),
 CAH #6 (I-70)(19-01300-5-JNC), CAH #7 (Prague)(19-01298-5-JNC), CAH # 12 (Fairfax)(19-01967-5-JNC), and
 CAH #16 (Haskell)(19-01227-5-JNC).

                                                    2
Case 19-01228-5-JNC        Doc 134 Filed 01/03/20 Entered 01/03/20 10:19:51                 Page 3 of 4




            5.      The Applicant has represented that Spilman holds in its trust account the

 balance of the initial pre-petition retainer deposited with the firm by a third party in the amount of

 $106,765.75 (the "Retainer"), which amount is available to pay in part the Applicant's fees and

 expenses approved by the Court.

            6.      On October 7, 2019, the BA filed her general objection to the Application [Dkt.

 No. 122]. The parties have determined to settle the BA’s objections to all pending CAH matters

 under the terms of this order. Applicant has agreed to make certain adjustments to some of the time

 and services described in the various Applications.

            7.      With respect to the allocation of the Retainer among the various cases (excluding

 CAH # 4 [Drumright]), the BA and the Applicant agree that it is appropriate to apply the Retainer

 on a prorata basis among the following cases in which the Applicant has filed fee applications: CAH

 #1 (Washington), CAH #2 (Oswego), CAH #3 (Horton), CAH #6 (I-70), CAH #7 (Prague), CAH #

 12 (Fairfax), and CAH #16 (Haskell). Each order entered in those cases will reflect the amount of

 the Retainer to be applied to the approved fees and expenses. The parties agree that none of the

 Retainer will be allocated and applied to the fees and expenses approved in this case (Drumright).

            8.      The parties agree that Applicant shall be awarded compensation and

 reimbursement of expenses pursuant to the Application in the reduced amount of $5,500.00, which

 represents $5,500.00 in fees and $0.00 in expenses. The parties have further agreed that none of

 the Retainer will be applied to the approved fees and that the amount of $5,500.00 will be allowed

 as a Chapter 11 administrative claim in the case.

            Based upon the foregoing findings of fact and conclusions of law, IT IS

 THEREFORE ORDERED as follows:




                                                   3
Case 19-01228-5-JNC          Doc 134 Filed 01/03/20 Entered 01/03/20 10:19:51            Page 4 of 4




        1.      Pursuant to 11 U.S.C. § 331, for the period of March 13, 2019 through July 31,

 2019, the Applicant as counsel for the Debtor is permitted and allowed compensation in the amount

 of $5,500.00 and recovery of expenses of $0.00, for a total of $5,500.00 as a Chapter 11

 administrative claim in this case.

        2.      This is an interim award subject to this Court’s final review and approval including

 but not limited to its determination of whether disgorgement is warranted under Section 726 of the

 Bankruptcy Code.




 AGREED TO BY:

 /s/ Rayford K. Adams III
 Rayford K. Adams III
 Counsel for the Applicant

 /s/ Marjorie K. Lynch
 Marjorie K. Lynch
 Bankruptcy Administrator

 /s/ Thomas W. Waldrep, Jr.
 Thomas W. Waldrep, Jr.
 Trustee

                                      END OF DOCUMENT




                                                 4
